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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF MARYLAND
        Chambers of                                                       101 West Lombard Street
   George L. Russell, III                                                 Baltimore, Maryland 21201
 United States District Judge                                                   410-962-4055

                                          April 24, 2019

MEMORANDUM TO COUNSEL RE:                                    Jeff Hulbert, et al. v. Sgt. Brian T.
                                                             Pope, et al.
                                                             Civil Action No. GLR-18-461

Dear Counsel:

     Today, the Court convened a teleconference to discuss the schedule in this case. This
memorandum memorializes the agreements reached during the call.

        The parties shall notify the Court regarding whether there is unanimous consent to
transfer the case to a United States Magistrate Judge (“USMJ”) for all further proceedings by
4:30 p.m. on Friday, April 26, 2019. The parties shall submit a joint proposed modified
scheduling order by 4:30 p.m. on Tuesday, April 30, 2019.

        The Court will refer this case to a USMJ for a mediation to be scheduled no earlier than
July 2, 2019. The parties shall submit a joint status report within seven (7) days of the mediation
informing the Court of whether the mediation was successful. If the mediation was successful,
the parties shall submit a notice of dismissal.

        The Court allocates forty (40) deposition hours per side for fact witnesses.

       Despite the informal nature of this memorandum, it shall constitute an Order of the Court,
and the Clerk is directed to docket it accordingly.


                                              Very truly yours,

                                                        /s/
                                              George L. Russell, III
                                              United States District Judge
